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                     United States Court of Appeals
                                    For the First Circuit
      No. 23-1902
                                     JOHN ANTHONY CASTRO,

                                          Plaintiff - Appellant,

                                                    v.

                DAVID SCANLAN, New Hampshire Secretary of State; DONALD J. TRUMP,

                                        Defendants - Appellees.


                                              MANDATE

                                      Entered: December 19, 2023

             In accordance with the judgment of November 21, 2023, and pursuant to Federal Rule of
      Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                                 By the Court:

                                                 Maria R. Hamilton, Clerk


      cc:
      John Anthony Castro
      Ronald D. Coleman
      Samuel R. V. Garland
      Bryan K. Gould
      Gary Lawkowski
      Richard J. Lehmann
      Morgan Tanafon
      Joseph L. Westfall
